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IN THE UNITED STATES DISTRICT COURT IN AND FOR

THE DISTRICT OF UTAH

 

WORLD WIDE ASSOCIATION OF .
SPECIALTY PROGRAMS AND : PLAINTIFF’S OPPOSITION TO

SCl-IOOLS, a Utah corporation, ': DEFENDANT’S MOTI()N TO DISMISS
Plaintiff, :
vs. Civil No. 2:04CV001()7
THOMAS G. HOULAHAN, a foreign Judge Dale A. Kimball
individual, '
Defendant.

 

Plaintiff, by and through undersigned counsel, hereby respectfully submits this Memorandurn
in Opposition to Defendant’s Motion to Dismiss. Defendant Houlahan challenges jurisdiction in
Utah but has not been forthright concerning his contacts with the state. lnformation currently
available suggests Mr. Houlahan has had extensive contacts With the State of Utah, more than

sufficient for specific personal jurisdictionl World Wide is entitled to discovery to determine Mr.

Houlahan’s contacts With Utah residents and World Wide member schools.

 

 

 

 

 

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Further, Mr. Houlahan is subject to Utah jurisdiction having targeted a Utah company for
injury and causing such injury in this state. There is nothing unfair in hailing Mr. Houlahan to this
district to answer for such conduct. Finally, venue is proper in this district where the events giving
rise to this claim have occurred.

ARGUMENT
I. WORLD WIDE IS ENTITLED TO CONDUCT DISCOVERY ON THE
ALLEGATION DISPUTED BY HOULAHAN THAT HE HAD SUFFICIENT
SPECIFIC JURISDICTIONAL CONTACTS IN UTAH

World Wide is entitled to discover defendant Houlahan’s contacts with Utah that would
support specific jurisdictionl According to the Tenth Circuit Court of Appeals, “[w]hen a defendant
moves to dismiss for lack of jurisdiction, either party should be allowed discovery on the factual
issues raised by that motion.” Sizova v. National Inst. ofSIandards & Tech. , 282 F.3d 1320, 1326
(lOth Cir. 2002). Defendant’s Motion to Dismiss argues only that none of the communications or
acts set forth in plaintiff s complaint occurred in Utah. lt is important to note that no where does Mr.
Houlahan claim, in his motion or by affidavit, to have not had defamatory or otherwise actionable
contacts with Utah residents, he merely states they were not set forth in the complaint World Wide
is entitled to discover the communications Mr. Houlahan did have with Utah residents.

For example, World Wide is entitled to discover what Utah contacts Mr. Houlahan made in
“investigating” Utah schools Houlahan’s memorandum, on page 5, states, “Defendant’s
investigations and communications have involved programs in Montana, New York, South Carolina,
Costa Rica, Jamaica, Mexico, and the Czech Republic.” These “investigations and communications”

of Mr. Houlahan’ s are the basis for this lawsuit. Houlahan’ s list includes every World Wide member

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school, and one former member, except for the two member schools in Utah. lt is simply not
reasonable that Mr. Houlahan would “investigate” World Wide without “investigations and
communications” with its oldest and largest member school, Cross Creek in La Verkin, Utah. Mr.
Houlahan also omits “investigations and communications” concerning Maj estic Ranch in Randolph,
Utah.

Houlahan does not list Cross Creek and Maj estic Ranch because his slanderous and improper
“investigations and communications” would support jurisdiction, yet he stops short of affirmatively
denying any such communications Rather, Mr. Houlahan stated in January 2004, “I’ve spent more
than eight months not only researching each individual WWASPS faciliil, but the teen behavioral
modification industry as a whole.” See E-Mail from Thomas G Houlahan to J ames Wall, attached
as Exhibit A. Houlahan’s Motion to Dismiss intentionally'omits his contacts With World Wide’s
Utah schools. World Wide is entitled to discover Mr. Houlahan’s “investigations and
communications” with Utah residents and concerning World Wide’s Utah member schools. This
could be accomplished through a deposition of defendant and production of documents including
notes of contacts, e-mails, and other written correspondence

Houlahan more directly challenges his communications with Thomas Burton, a member of
the Utah State Bar, and frequent litigant in this district court. Houlahan is correct that plaintiff
successfully argued before Judge Stewart (unsuccessfully before this Court and Judge Campbell) that

Mr. Burton was a California resident However, in Suppiemental Proceedings in February of 2004

 

l Supplemental Proceedings were required in the case of Dochterman v. Teen Help, et al, for Mr. Burton’s
refusal to pay a sanctions award entered against him in the matter.

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Mr. Burton testified he was a resident of Holladay, Utah. Just as Mr. Houlahan omitted mention of
his “investigations” of Utah schools, World Wide is entitled to discover if Mr. Houlahan also
omitted contacts with Mr. Burton in Utah encouraging Mr. Burton’ s frivolous lawsuits and offering
to publicize Mr. Burton and his plaintiffs, knowing their claims could not stand up in a court of law
but could make good newspaper fodder.2 This discovery could be accomplished by depositions of
defendant and Mr. Burton.

ln Toys "R ” Us, Inc. v. Step Two, S.A., 318 F.3d 446 (3“’ Cir. 2003), the defendant moved
to dismiss claiming it did not sell or market toys in the United States and had no intention of doing
so over its web site. The district court granted a motion to dismiss finding the web site did not allow
for sales to United States customers and, therefore, the United States could not have jurisdiction
The Third Circuit overruled holding the information which could establish jurisdiction, i.e.
“information regarding [defendant’ s] intent vis-a vis its Internet business and regarding other related
contacts is known by [defendant], and can be learned by [plaintiff] only through discovery.” Id. at
455. Thus, it was an abuse of discretion for the trial court to deny discovery. lnstead, “courts are
to assist the plaintiff by allowing jurisdictional discovery unless the plaintiffs claim is ‘clearly
frivolous.”’ Id. at 456 (citations omitted).

Here, Houlahan’s “investigations” in Utah, his communications with Utah residents, his
contact of parents with children enrolled in World Wide member schools in Utah are all “pertinent

facts bearing on the question ofjurisdiction.” Sizova, 282 F.3d at 1326. As such, refusal to grant

 

2 All of Mr. Burton’s cases have been dismissed but one, Bardfn v. Teen Heijp, et al, pending in this Court.
This Court issued its third Order to Show Cause on Marcb 24, 2004 giving plaintiff 15 days to inform the court of
the status of the case and state his intentions to proceed or suffer dismissal. There has been no response

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discovery on such matters would constitute an abuse of discretion. Id. Accordingly, World Wide
moves for permission to conduct discovery on defendant Houlahan’s Utah contacts pertinent to
specific jurisdiction

II. SPECIFIC JURISDICTION IS APPROPRIATE OVER HOULAHAN UNDER
THE EFFECTS TEST

Utah’s long-arm statute must be interpreted to confer jurisdiction “to the fullest extent
permitted by the due process clause.” Utah Coa'e Arm. § 78-27-22. Jurisdiction over Mr. Houlahan
comports with due process and is therefore appropriate in accordance with Utah’ s long-arm statute.
Here, Mr. Houlahan has sufficient minimum contacts with Utah to confer jurisdiction, such
jurisdiction does not offend traditional notions of fairness and substantial justice, and plaintiffs
claims arise out of Mr. Houlahan’s contacts.

ln Utah, “[i]n a tort case . . . jurisdiction may attach if the defendant’s conduct is aimed at
or has an effect in the forum state. Personal jurisdiction can be based upon intentional actions,
expressly aimed at the forum state, causing harm, the brunt of which is suffered, and which the
defendant knows is likely to be suffered, in the forum state.” System Designs, Inc. v. New
Customware Co., Inc. , 248 F. Supp. 2d 1093 (D.Utah 2003)(finding Utah company with registered
trademark felt “effects” of infringement in Utah). In Burt v. Board ofRegems of the Univ. of
Nebraska, the Tenth Circuit held, “no due process notions of fairness are violated by requiring one
who intentionally libels another to answer for the truth of his statements in any state where the libel

causes harm to the victim.” 757 F.2d 242, 245 (10th Cir. 1985). This ruling adopted the United

States Supreme Court’s “effects test” as set forth in Calder v. Jo)ies, 465 U.S. 783; 104 S. Ct. 1482

 

 

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(1984).

ln Calder, actress Shirley J ones sued a Florida citizen in California for publication of a
defamatory article in the National Enquirer. The author argued he could not be sued in California
because he had no contact with the state, had no control over publication of the Enquirer, and the
mere fact he could foresee its publication in Califomia was insufficient for personal jurisdiction3
The Court flatly rejected this position. As opposed to some kind of “untargeted negligenee,” the
Court found the article’s publication was expressly aimed at California, i.e. the state in which Ms.
J ones lived and worked and where “the brunt ofthe injury would be felt.” Therefore, the Court held,
“petitioners must ‘reasonably anticipate being haled into court there’ to answer for the truth of the
statements made in their article. An individual injured in California need not go to Florida to seek
redress from persons who, though remaining in Florida, knowingly cause injury in California.” 465
U.S. at 790.

In Berrett v. Life Ins. Co. of the Southwest, 623 F. Supp. 946 (D.Utah 1985), plaintiff
insurance agency sold defendant’ s insurance policies in Utah. Subsequently, defendant telephoned
its Utah policy holders from Texas and advised the policy holders to discontinue dealing with
plaintiff based on alleged wrongdoings. The Berretr court held Utah had jurisdiction based on
plaintiff s allegations of inj ury to its business reputation caused by defendant’s out of state conduct.

Specifically, the court ruled:

 

3 Reeves copied her analysis of Calder from Sue Schef`f’ s similar Motion to Dismiss. As Scheff
did, Reeves quotes petitioners’ arguments in her brief and misleadingly refers to them as the holding of
the Calder Court. See Memorandum in Support at 16. Petitioners’ arguments were rejected by the Court
and constitute no part of the Court’s holding or precedentl

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A state has an especial interest in exercising judicial jurisdiction over those who

commit torts within its territory. This is because torts involve wrongful conduct

which a state seeks to deter, and against which it attempts to afford protection, by

providing that a tortfeasor shall be liable for damages which are the proximate result

of his tort . . . In this case_, a strong public policy of the state of Utah is embodied in

its long arm statute for redress of tortious acts which cause injury in this state.
Berretr, 623 F. Supp. at 951; quoting in part Keeton v. Husrler Magazine, Inc., 465 U.S. 770; 104
S. Ct. 1473, 1479 (1984). As stated by this Court, “[a] defendant’s acts will come within the flong
arm] statute if an injury should occur in the state even though the act causing the injury might occur
elsewhere.” Romney v. St. Virgin Grand Vfllas Assoc., 734 F. Supp. 957, 960 (D.Utah 1990). The
effects test would apply, and jurisdiction be proper, where “defendant’ s actions were expressly aimed
at the forum state and . . . the forum state was the focal point of the tort.” Hya’ro Engineering, Inc.
v. Landa, Inc., 231 F. Supp. 2d 1130, 1135 (D.Utah 2002).

Here, Mr. Houlahan’s target is the World Wide Association, headquartered in St. George,
Utah. Houlahan’s “investigations” have taken place all over the country, but the focus has been
World Wide. Houlahan has contacted parents and students all over the country, his intent in
contacting those parents has been to defame and damage World Wide. According to Mr. Houlahan_,
jurisdiction would be properly based on his purely fortuitous contacts of parents living in Alaska,
or in North Carolina, or in l\/laryland. Houlahan similarly posits jurisdiction would be proper in
South Carolina where he contacted government officials, or in California where he called Mr.

Burton. None of those states, however, has anywhere near the interest and ties to this case that Utah

does. Whether he called New York or California, the focus of the tort was Utah.

For example, Mr. Houlahan called Lauren Staudt from the Department of Social Services in

 

 

 

 

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South Carolina. Ms. Staudt’s memorandum of their conversation demonstrates her focus was
Carolina Springs Academy, located in South Carolina, while Mr. Houlahan’ s focus was World Wide.
According to Ms. Staudt, “[I-Ioulahan} is doing a series of articles based on his ongoing investigation
of WWASPS programs He said this is not a reputable organization and that six WWASPS
programs have been shut down.” See Exhibit B. Houlahan’s focus on World Wide is clear, and the
defamatory statement (i.e. that six WWASPS programs have been shut down) is targeted at World
Wide in Utah, not South Carolina.

Likewise, in his February 17, 2004 e-mail to C.l\/l.’s minor daughter, Mr. Houlahan wrote,
“Now l’m fighting with the people who held you and 2,400 others captive.” See Exhibit C. World
Wide does not own or operate a single school, but to Mr. Houlahan there is no difference between
World Wide and its member schools. Hence, Mr. Houlahan targeted World Wide - regardless of
where any individual school was located. As Thomas Burton stated in his e-mail, “[Houlahan] is
strongly against WWASP.” See Exhibit D. Again, not against any single parent across the country
or a single school, but against World Wide in Utah.

This is merely the evidence available at this initial stage of this litigation Just as discovery
will produce evidence of Mr. Houlahan’s contacts with Utah, discovery will further demonstrate
Utah is the focal point of l\/[r. Houlahan’s tortious activities Jurisdiction is thus proper in Utah as
the aim and target of the Mr. Houlahan’s injurious conduct. Houlahan relies on Harnischj%ger
Engineers, Inc. v. Um`jlo Conveyor, Inc., 883 F. Supp 608 (D.Utah 1995), wherein this Court stated
lost profits is insufficient to demonstrate injury within the state. Here, however, World Wide claims

much more than lost profits in Utah. World Wide is claiming damage to its reputation, good will

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and standing in the Utah business community, in the specialty school community, and in the
community of parents seeking residential treatment for troubled youth. This damage goes far beyond
lost profits.

The requirements of due process and Utah’s long arm statute have been met. There is no
injustice in requiring an out of state defendant to defend against intentional torts, such as defamation,
in the state where such statements were intended to cause harm. Jurisdiction is therefore appropriate
in Utah.

III. VENUE IS PROPER IN THIS COURT

Venue under 28 U.S.C. 1391 (a)(2) is proper in a judicial district “in which a substantial part
of the events or omissions giving rise to the claim occurred.” As set forth above, World Wide is
entitled to discovery to determine Mr. Houlahan’s actions in this district. That discovery will
demonstrate that events giving rise to this claim did occur in Utah.

ln addition, specific personal jurisdiction under the Calder effects tests places venue squarely
in Utah. Under the effects test, all the events and omissions giving rise to World Wide’s claim
occurred in Utah such as the targeted effects on World Wide’s reputation, good will and standing
in the Utah business community, in the specialty school community, and in the community of parents
seeking residential treatment for troubled youth.

CONCLUSION

Defendant Houlahan has challenged jurisdiction in Utah but has not been forthright

concerning his contacts with the state. World Wide is entitled to discovery to determine Mr.

Houlahan’ s contacts with Utah residents and World Wide member schools Further, Mr. Houlahan

 

 

 

 

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is subject to Utah jurisdiction having targeted a Utah company for injury and causing such injury in
this state,
DATED this 1 1iz`day of May, 2004.

SILVESTER & CONROY, L.C.

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Fred R. i>`ilvester
Spencer Siebers

Attorneys for Plaintiff

CERTIFICATE OF SERVICE

l hereby certify that on this j@_" day of May, 2004 a true and correct copy of the
foregoing PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS
was served by mailing the same via first-class U.S. Mail, postage prepaid to the following:

Thomas Houlahan

4602 43rd Street, NW #l
Washingtion, D.C. 20016

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